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                             THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND

In re:                                                 *

ANDREW WILLIAM MACSORLEY,                              *      Case No. 18-19964
                                                              Chapter 7
                            Debtor.                    *
*            *       *      *      *     *      *      *      *      *     *       *    *
NATIONSTAR MORTGAGE LLC,                               *

                            Movant.                    *

v.                                                     *

ANDREW WILLIAM MACSORLEY, et al.,                      *

                            Respondents.               *
*            *       *      *     *      *      *      *      *      *     *       *    *

                         CONSENT TO TERMINATION OF AUTOMATIC STAY

       The undersigned Chapter 7 Trustee hereby consents to termination of the automatic stay
to permit repossession or foreclosure of the following property, provided surplus proceeds, if
any, be remitted to the estate.

Property Description:        245 Duke of Kent Street

Dated: 8/9/18_______                                   _/S/ Monique D. Almy________________
                                                       Monique D. Almy, Chapter 7 Trustee

                                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 9th day of August, 2018, a copy of the foregoing
Consent was sent via ECF notification to the following parties registered to receive ECF notices
in this case.

         •       James Gordon Bell bankruptcy@bww-law.com
         •       Carolyn Gilden Krohn carolynkrohn@gmail.com, amanda@nagerlaw.com,
                 alon@nagerlaw.com, nagerar70680@notify.bestcase.com, carolyn@nagerlaw.com
         •       Namrata Loomba nloomba@orlans.com, ecfaccount@orlans.com;
                 ANHSOrlans@InfoEx.com
         •       Alon Nager alon@nagerlaw.com, amanda@nagerlaw.com;
                 nagerar70680@notify.bestcase.com; carolyn@nagerlaw.com

                                                /S/ Monique D. Almy_____________
                                                Monique D. Almy, Chapter 7 Trustee


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